Case 24-80035-swe11               Doc 184 Filed 03/29/24 Entered 03/29/24 15:53:25                             Desc
                                   Main Document     Page 1 of 17


    Jason S. Brookner (TX Bar No. 24033684)
    Aaron M. Kaufman (TX Bar No. 24060067)
    Lydia R. Webb (TX Bar No. 24083758)
    GRAY REED
    1601 Elm Street, Suite 4600
    Dallas, TX 75201
    Telephone: (214) 954-4135
    Facsimile: (214) 953-1332
    Email:      jbrookner@grayreed.com
                akaufman@grayreed.com
                lwebb@grayreed.com

    Proposed Counsel to the Debtors
    and Debtors in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                            §
    In re:                                                  § Chapter 11
                                                            §
    COTTONWOOD FINANCIAL LTD., et al.,1                     § Case No. 24-80035 (SWE)
                                                            §
                   Debtors.                                 § (Jointly Administered)
                                                            §

       GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGIES,
            AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
       OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) hereby
file their Schedules of Assets and Liabilities (collectively with attachments, the “Schedules”) and
Statements of Financial Affairs (collectively with attachments, the “Statements,” and together with
the Schedules, the “Schedules and Statements”). The Schedules and Statements were prepared
pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”), rule 1007
of the Federal Rules of Bankruptcy Procedure, and rule 1007-1 of the Local Bankruptcy Rules of
the United States Bankruptcy Court for the Northern District of Texas by the Debtors with the
assistance of their advisors and are unaudited.

      These Global Notes and Statement of Limitations, Methodologies, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs

1
  The Debtors in these chapter 11 cases and the last four digits of each Debtors’ federal tax identification number are
as follows: Cottonwood Financial Ltd. (1001); Cottonwood Financial Administrative Services, LLC (7228);
Cottonwood Financial Texas, LLC (9059); Cottonwood Financial Idaho, LLC (“Cottonwood Idaho”) (5651);
Cottonwood Financial Wisconsin, LLC (“Cottonwood Wisconsin”) (7075). The Debtors’ principal offices are located
at 2100 W Walnut Hill Lane, Suite 300, Irving, TX 75038.



4886-7781-6750
Case 24-80035-swe11           Doc 184 Filed 03/29/24 Entered 03/29/24 15:53:25                 Desc
                               Main Document     Page 2 of 17



(the “Global Notes”) pertain to, are incorporated by reference in, and constitute an integral part of
the Schedules and Statements. These Global Notes should be referred to, considered, and reviewed
in connection with any review of the Schedules and Statements. To the extent that the Schedules
and Statements conflict with these Global Notes, these Global Notes shall control.

        The Debtors and their professionals do not and cannot guarantee or warrant the accuracy
or completeness of the data that is provided herein and shall not be liable for any loss or injury
arising out of, or caused in whole or in part by, the acts, errors, or omissions in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the information
contained herein. While diligent and reasonable efforts have been made to provide accurate and
complete information in the Schedules and Statements, inadvertent errors or omissions may exist.
In no event shall the Debtors or their professionals be liable to any third party for any direct,
indirect, incidental, consequential, or special damages (including, but not limited to, damages
arising from the disallowance of a potential claim against the Debtors or damages to business
reputation, lost business, or lost profits), whether foreseeable or not and however caused, even if
the Debtors or their professionals are advised of the possibility of such damages.

        These Global Notes are in addition to any specific notes contained in each Debtor’s
respective Schedules or Statements. Disclosure of information in one or more Schedules or
Statements, or one or more exhibits or attachments to the Schedules or Statements, even if
incorrectly placed, shall be deemed to be disclosed in the correct Schedules, Statements, exhibits,
or attachments.

                           Global Notes and Overview of Methodology

1.       “As Of” Information Date. On February 25, 2024 (the “Petition Date”), each Debtor filed
         a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are
         operating as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
         Code.

         To the best of the Debtors’ knowledge, the information provided herein represents the asset
         and liability data of the Debtors as of the Petition Date, except as otherwise noted.
         Amounts ultimately realized may vary from net book value (or the applicable value
         ascribed herein) and such variance may be material. Accordingly, the Debtors reserve all
         rights to amend or adjust the value of each asset set forth herein. In addition, the amounts
         shown for total liabilities exclude items identified as “unknown,” “disputed,” “contingent,”
         “unliquidated,” or “undetermined,” and thus, ultimate liabilities may differ materially from
         those stated in the Schedules and Statements.

2.       Reservations and Limitations. Diligent and reasonable efforts have been made to prepare
         and file complete and accurate Schedules and Statements; however, as noted above,
         inadvertent errors or omissions may exist. The Debtors reserve all rights to: (a) amend
         and/or supplement the Schedules and Statements from time to time, in all respects, as may
         be necessary or appropriate, including, without limitation, amending the Schedules and
         Statements with respect to the description or designation of any claim (each, a “Claim”);
         (b) dispute or otherwise assert offsets or defenses to any Claim reflected in the Schedules
         and Statements as to amount, liability, priority, status, or classification; (c) subsequently


                                                  2
4886-7781-6750
Case 24-80035-swe11           Doc 184 Filed 03/29/24 Entered 03/29/24 15:53:25                 Desc
                               Main Document     Page 3 of 17



         designate any Claim as “disputed,” “contingent,” or “unliquidated;” or (d) object to the
         extent, validity, enforceability, or priority of any Claim (regardless of whether such Claim
         is designated in the Schedules and Statement as “disputed,” “contingent,” or
         “unliquidated”).

         Notwithstanding the Debtors’ diligent and reasonable efforts to properly characterize,
         classify, categorize, or designate certain Claims, assets, executory contracts, unexpired
         leases, and other items reported in the Schedules and Statements, the Debtors may
         nevertheless have inadvertently improperly characterized, classified, categorized,
         designated, or omitted certain items. Accordingly, the Debtors reserve their rights to
         recharacterize, reclassify, recategorize, redesignate, add, or delete items reported in the
         Schedules and Statements at a later time as is necessary or appropriate as additional
         information becomes available, including, without limitation, whether contracts or leases
         listed herein were deemed executory or unexpired as of the Petition Date and remain
         executory and unexpired postpetition.

         Furthermore, nothing contained in the Schedules and Statements constitutes a waiver of
         any of the Debtors’ rights or an admission of any kind with respect to these chapter 11
         cases, including any rights or Claims of the Debtors against any third party or issues
         involving Claims, substantive consolidation, equitable subordination, recharacterization,
         or defenses and/or causes of action arising under the provisions of chapter 5 of the
         Bankruptcy Code and any other relevant applicable bankruptcy or non-bankruptcy laws to
         recover assets or avoid transfers.

         Any specific reservation of rights contained elsewhere in the Global Notes does not limit
         in any respect the general reservation of rights contained in the above paragraphs, nor shall
         it otherwise infringe upon the Debtors’ rights to amend their Schedules and Statements at
         any time before these chapter 11 cases are closed, pursuant to Bankruptcy Rule 1009.

3.       Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
         “disputed,” “contingent,” and/or “unliquidated.”

                 A claim that is dependent on the realization of some uncertain future event is a
                 “contingent” claim.

                 A claim, or portion of a claim, for which a specific value could not be readily
                 quantified by the Debtor using currently available information is scheduled as
                 “unliquidated.”

                 A claim with respect to which the applicable Debtor and the claimant disagree as
                 to the amount owed, whether any amount is owed, or the claim classification, is
                 “disputed.”

         Any failure to designate a Claim in the Schedules and Statements as “disputed,”
         “contingent,” or “unliquidated” does not constitute an admission by the Debtors that such
         Claim or amount is not “disputed,” “contingent,” or “unliquidated,” or that such Claim is
         not subject to objection. The Debtors reserve all rights to dispute, or assert offsets or
         defenses to, any Claim reflected on their Schedules and Statements on any grounds,

                                                  3
4886-7781-6750
Case 24-80035-swe11           Doc 184 Filed 03/29/24 Entered 03/29/24 15:53:25                   Desc
                               Main Document     Page 4 of 17



         including, but not limited to, amount, liability, priority, status, or classification.
         Additionally, the Debtors expressly reserve all rights to designate such Claims as
         “disputed,” “contingent,” or “unliquidated” at a later date. Moreover, listing a Claim does
         not constitute an admission of liability by the Debtors. The Debtors reserve all rights to
         amend the Schedules and Statement as necessary and appropriate, including, but not
         limited to, with respect to Claim description and designation.

4.       Basis of Presentation. Information contained in the Schedules and Statements has been
         derived from the information provided by the Debtors’ management. The Schedules and
         Statements have not been subject to procedures that would typically be applied to financial
         statements prepared in accordance with Generally Accepted Accounting Principles
         (“GAAP”) and are not intended to reconcile fully with any financial statements prepared
         under GAAP. Therefore, combining the assets and liabilities set forth in the Schedules and
         Statements would result in amounts that are substantially different from financial
         information that would otherwise be prepared under GAAP. To the extent that a Debtor
         shows more assets than liabilities, this is not an admission that the Debtor was solvent as
         of the Petition Date or at any time before the Petition Date. Likewise, to the extent a Debtor
         shows more liabilities than assets, this is not an admission that the Debtor was insolvent at
         the Petition Date or any time before the Petition Date. For the avoidance of doubt, nothing
         contained in the Schedules and Statement is indicative of the Debtors’ enterprise value.

5.       Causes of Action. Despite making diligent and reasonable efforts to identify all known
         assets, the Debtors may not have identified or set forth all of their causes of action (filed
         or potential) against third parties as assets in their Schedules and Statements, including,
         without limitation, causes of action arising under the provisions of chapter 5 of the
         Bankruptcy Code and actions under other relevant bankruptcy and non-bankruptcy laws to
         recover assets or avoid transfers. The Debtors reserve all rights with respect to any causes
         of action (including avoidance actions), controversy, right of setoff, cross claim,
         counterclaim, or recoupment and any claim on contracts or for breaches of duties imposed
         by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation,
         liability, damage, judgment, account, defense, power, privilege, license, and franchise of
         any kind or character whatsoever, known, unknown, fixed or contingent, matured or
         unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
         secured or unsecured, assertable directly or derivatively, whether arising before, on, or after
         the Petition Date, in contract or in tort, at law or in equity, or pursuant to any other theory
         (collectively, “Causes of Action”) they may have, and neither these Global Notes nor the
         Schedules and Statements shall be deemed a waiver of any claims or Causes of Action or
         in any way prejudice or impair the assertion of such claims or Causes of Action by the
         Debtors.

6.       Book Value. Except as otherwise indicated, the Debtors, have made a good faith effort to
         list assets and liabilities based on book values as of the latest close of books and records
         or, where possible, through the Petition Date. The book values of certain assets may
         materially differ from their fair market values. Certain assets that have been fully
         depreciated or that were expensed for accounting purposes either may not appear in the
         Schedules and Statements or are listed with a zero-dollar value, as such assets have no net
         book value. The omission of an asset from the Schedules and Statements does not

                                                   4
4886-7781-6750
Case 24-80035-swe11           Doc 184 Filed 03/29/24 Entered 03/29/24 15:53:25                 Desc
                               Main Document     Page 5 of 17



         constitute a representation regarding the ownership of such asset, and any such omission
         does not constitute a waiver of any of the Debtors’ rights with respect to such asset.

7.       Classifications. Listing (a) a claim on Schedule D as “secured,” (b) a claim on Schedule
         E/F as “priority,” or (c) a claim on Schedule E/F as “unsecured,” or (d) a contract or lease
         on Schedule G as “executory” or “unexpired,” does not constitute an admission by the
         Debtors of the legal rights of the claimant or a waiver of the Debtors’ rights to re-
         characterize or reclassify such Claims, contracts, or leases or to setoff such Claims.

8.       Court Orders. Pursuant to certain orders of the Bankruptcy Court entered in these
         chapter 11 cases (the “First Day Orders”), the Debtors were authorized (but not directed)
         to pay, among other things, certain of the Debtors’ ordinary course operational costs and
         employee compensation. Accordingly, certain liabilities may have been or may be satisfied
         in accordance with such First Day Orders and therefore, generally are not listed in the
         Schedules and Statements.

9.       Liabilities. The Debtors have sought to allocate liabilities between the prepetition and
         postpetition periods based on the information and research that was conducted in
         connection with the preparation of the Schedules and Statements. As additional
         information becomes available and further research is conducted, the allocation of
         liabilities between prepetition and postpetition periods may change.

10.      Excluded Assets and Liabilities. The Debtors may have excluded immaterial or de minimis
         assets and liabilities.

11.      Property Rights. Exclusion of certain property from the Schedules and Statements shall
         not be construed as an admission that such property rights have been abandoned,
         terminated, assigned, expired by terms, or otherwise transferred pursuant to a sale,
         acquisition, or other transaction. Conversely, inclusion of certain property shall not be
         construed to be an admission that such property rights have not been abandoned, have not
         been terminated, or otherwise expired by terms, or have not been assigned or otherwise
         transferred pursuant to a sale, acquisition, or other transaction.

12.      Insiders. In instances where the Schedules and Statements require information regarding
         “insiders,” the Debtors have included information with respect to the individuals or entities
         who the Debtors believe may be included in the definition of “insider” set forth in section
         101(31) of the Bankruptcy Code during the relevant time periods.

         The listing or omitting a party as an insider for purposes of the Schedules and Statements
         is for informational purposes only and is not intended to be, nor should it be, construed as
         an admission of the legal characterization of such party as an insider for purpose of section
         101(31) of the Bankruptcy Code. Moreover, the Debtors do not take any position with
         respect to: (a) any insider’s influence over the control of the Debtors; (b) the management
         responsibilities or functions of any such insider; (c) the decision making or corporate
         authority of any such insider; or (d) whether the Debtors or any such insider could
         successfully argue that they are not an “insider” or “affiliate” under applicable law or with
         respect to any theories of liability or for any other purpose


                                                  5
4886-7781-6750
Case 24-80035-swe11           Doc 184 Filed 03/29/24 Entered 03/29/24 15:53:25                 Desc
                               Main Document     Page 6 of 17



13.      Estimates. To prepare and file the Schedules and Statements in accordance with the
         deadline established in these chapter 11 cases, the Debtors were required to make
         reasonable estimates and assumptions with respect to the reported amounts of assets and
         liabilities, the amount of contingent assets and contingent liabilities on the date of the
         Schedules and Statement, and the reported amounts of revenues and expenses during the
         applicable reporting periods. The Debtors reserve all rights to amend, supplement, or
         otherwise modify the reported amounts of assets and liabilities to reflect changes in those
         estimates or assumptions.

14.      Fiscal Year. Each Debtor’s fiscal year ends on December 31.

15.      Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

16.      Executory Contracts and Unexpired Leases. Although the Debtors have made diligent
         attempts to properly identify executory contracts and unexpired leases, the inclusion of a
         contract or lease on Schedule G does not constitute an admission as to the executory or
         unexpired nature (or non-executory or expired nature) of any contract or lease, or an
         admission as to the existence or validity of any Claims held by any counterparty to any
         contract or lease. Furthermore, while the Debtors have made diligent attempts to properly
         identify all executory contracts and unexpired leases, inadvertent errors, omissions, or over
         inclusion may have occurred.

         Moreover, nothing in the Schedules and Statements is, or shall be construed to be, an
         admission as to the determination of the legal status of any lease or financing arrangement
         (including whether any lease or financing arrangement is a true lease, a financing
         arrangement, or a real property interest), and the Debtors reserve all rights with respect to
         such issues.

17.      Totals. All totals that are included in the Schedules and Statements represent totals of all
         known amounts. To the extent there are unknown, disputed, contingent, unliquidated, or
         otherwise Undetermined Amounts, the actual total may be different from the listed total.

18.      Unliquidated Claim Amounts. Claim amounts that could not be quantified by the Debtors
         are scheduled as “unliquidated.”

19.      Undetermined Amounts. The description of an amount as “unknown,” “disputed,”
         “contingent,” “unliquidated,” or “undetermined” is not intended to reflect upon the
         materiality of such amount.

20.      Liens. Property and equipment listed in the Schedules and Statements are presented
         without consideration of any liens that may attach (or have attached) to such property and
         equipment.

21.      Confidential Information. Pursuant to that certain Order (I) Authorizing the Debtors to
         Serve a Consolidated List of Creditors and a Consolidated List of the 30 Largest
         Unsecured Creditors, (II) Authorizing the Debtors to Redact Certain Personal
         Identification Information, (III) Approving the Form and Manner of Notifying Creditors of
         the Commencement of the Debtors’ Chapter 11 Cases, and (IV) Granting Related Relief

                                                  6
4886-7781-6750
Case 24-80035-swe11           Doc 184 Filed 03/29/24 Entered 03/29/24 15:53:25                 Desc
                               Main Document     Page 7 of 17



         [Docket No. 70] (the “Creditor Matrix Order”), the Bankruptcy Court has authorized the
         Debtors to redact certain personally identifiable information, such as home addresses of
         individuals and the names and addresses of the Debtors’ customers. To the extent the
         Debtors believe a claim, name, address, or amount falls under the purview of the Creditor
         Matrix Order, such information is not included in the Schedules and Statements. The
         alterations or redactions, if any, are limited only to what the Debtors believe is warranted
         to comply with the Creditor Matrix Order.

22.      Setoffs. The Debtors may have incurred setoffs and net payments in the ordinary course
         of business. Such setoffs and nettings may have occurred due to a variety of transactions
         or disputes including, but not limited to, intercompany transactions, counterparty
         settlements, pricing discrepancies, rebates, returns, warranties, refunds, and negotiations
         and/or disputes between Debtors and their customers and/or vendors. Therefore, although
         such setoffs and other similar rights may have been accounted for when scheduling certain
         amounts, these ordinary course setoffs are not independently accounted for, and as such,
         are or may be excluded from the Schedules and Statements. In addition, some amounts
         listed in the Schedules and Statements may have been affected by setoffs or nettings by
         third parties of which the Debtors are not yet aware. The Debtors reserve all rights to
         challenge any setoff and/or recoupment rights that may be asserted.

23.      Cottonwood Financial Administrative Services, LLC. The Debtor Cottonwood Financial
         Administrative Services, LLC (“Cottonwood Financial”) is the contracting entity for the
         majority, if not all, of the contracts with the Debtors. To the extent a contract states that
         the party is “Cottonwood Financial,” the Debtors believe this refer to Cottonwood
         Financial Administrative Services, LLC. Additionally, although the Debtors’ employees
         are employees of a specific Debtor entity, the employee wages and benefits, including 401k
         plans are paid by and are administered through Cottonwood Financial. Cottonwood
         Financial also pays all or the majority of all of the Debtors’ respective business expenses.

                   Specific Disclosures with Respect to the Debtors’ Schedules

1.       Schedule A/B, Question 2: For purposes of these Schedules, the Debtors have listed cash
         at the Debtors’ stores on a consolidated basis for security purposes.

2.       Schedule A/B, Question 7: The Debtors believe that all posted utility deposits have either
         been refunded or applied to the Debtors’ outstanding balances, and no deposits remain.
         The Debtors reserve all rights to amend the Schedules to the extent that any deposits are
         identified that have not been refunded or applied to balances.

3.       Schedule A/B, Question 8: Prepayments represent entries from the Debtors’ prepayment
         schedules and may not necessarily represent cash paid out as of the Petition Date.

4.       Schedule A/B, Questions 64 & 77: The Debtors have certain contractual rights under the
         Brokering and Servicing Agreement with TreeMac. Funding Group, LLC (“TreeMac”).
         The Debtor Cottonwood Financial Texas, LLC (“Cottonwood Texas”) operates as a Credit
         Services Organization (“CSO”) and a licensed Credit Access Business (“CAB”) under
         Texas law. Pursuant to a Brokering and Servicing Agreement with Cottonwood Texas,


                                                  7
4886-7781-6750
Case 24-80035-swe11           Doc 184 Filed 03/29/24 Entered 03/29/24 15:53:25                 Desc
                               Main Document     Page 8 of 17



         TreeMac is the exclusive third-party lender for loans brokered by Cottonwood Texas to
         customers. Cottonwood Texas earns fees at the time a loan is originated, paid from a
         portion of the loan proceeds, and which are remitted to Cottonwood Texas pursuant to the
         settlement process with TreeMac in the ordinary course of business. Subsequent fees,
         including fees Cottonwood Texas earns for maintaining the letter of credit during the term
         of the loan, are paid to Cottonwood Texas directly by the customer. Cottonwood Texas’s
         revenue from fees for performing its services under the Brokering and Servicing
         Agreement is scheduled at Schedule A/B question 64.

         Further, if a customer defaults on its loan agreement with TreeMac, TreeMac demands
         payment from Cottonwood Texas under the terms of its individual letter of credit. Once
         the letter of credit is called, Cottonwood Texas pays TreeMac in full on the loan.
         Cottonwood Texas is then subrogated to the rights of TreeMac in the loan, and Cottonwood
         Texas seeks reimbursement from the borrower pursuant to the credit services agreement
         by and between Cottonwood Texas and the customer. Cottonwood Texas has scheduled
         this right of collection/reimbursement from the customer at Schedule A/B question 77.

5.       Schedule D: The Debtors made reasonable, good faith efforts to include all liens on
         Schedule D, but may have inadvertently omitted an existing lien because of, among other
         things, the possibility that a lien may have been imposed after Uniform Commercial Code
         searches were performed or a vendor may not have filed the requisite perfection
         documentation. Moreover, the Debtors have not included on Schedule D parties that may
         believe their claims are secured through setoff rights or inchoate statutory lien rights.

6.       Schedule E/F, Part 1: Creditors Holding Priority Unsecured Claims. The listing of any
         claim on Schedule E/F does not constitute an admission by the Debtors that such claim is
         entitled to priority treatment under section 507 of the Bankruptcy Code. The Debtors
         reserve all rights to dispute the amount and the priority status of any claim on any basis at
         any time. All claims listed on the Debtors’ Schedule E/F are claims arising from tax
         obligations for which the Debtors may potentially be liable, and which may be subject to
         ongoing audits or other proceedings.

7.       Schedule E/F, Part 2: Creditors Holding Non-Priority Unsecured Claims. The claims
         listed in Schedule E/F arose or were incurred on various dates. In certain instances, the
         date on which a claim arose is an open issue of fact. Determining the date upon which
         each claim in Schedule E/F was incurred or arose would be unduly burdensome and cost
         prohibitive and, therefore, the Debtors do not list a date for each claim listed on
         Schedule E/F. Vendors may have invoiced the Debtors prior to the filing for postpetition
         services (i.e., annual contracts). Liabilities related to such invoices have been prorated on
         Schedule E/F to solely reflect the asserted prepetition Claim.

8.       Schedule G. Customer contracts included on Schedule G, if any, are redacted pursuant to
         the Creditor Matrix Order, which authorizes the Debtors to redact both customer names
         and addresses.




                                                  8
4886-7781-6750
Case 24-80035-swe11           Doc 184 Filed 03/29/24 Entered 03/29/24 15:53:25                 Desc
                               Main Document     Page 9 of 17



                  Specific Disclosures with Respect to the Debtors’ Statements

1.       Statement 3. Payments to the Debtors’ bankruptcy professionals for work related to the
         bankruptcy are not included in the payments to creditors and are instead included in
         Statement 11.

2.       Statements 4 & 30. Business Payments by the Debtors to or on behalf of their respective
         insiders for expense reimbursements, including credit card vendor payments, travel, meals
         and entertainment, are included in the amounts listed in Statement 4.

         Due to the nature of the Debtors’ business operations, and the sheer number of transfers
         between and among the Debtors on a daily basis, Statement 4 does not include
         intercompany transfers between or among Debtors.

3.       Statement 7: Information is listed, to the best of the Debtors’ knowledge and information,
         regarding current, threatened, or pending litigation involving a Debtor. The Debtors pursue
         collections against customers in the ordinary course of the Debtors’ business. Such
         collection matters have not been included in these Statements.

4.       Statement 13. In the ordinary course of business, the Debtors sell defaulted customer loans
         and/or the right to collect on such loans to third-party buyers. Statement 13 lists such
         transfers to the extent applicable to each Debtor entity.

5.       Statement 17. The Debtors’ 401k plan is administered under the Debtor Cottonwood
         Financial Administrative Services, LLC.

6.       Statement 21: Pursuant to the Brokering and Servicing Agreement by and between
         Cottonwood Texas and TreeMac Cottonwood Texas brokers and assists customers in
         obtaining loans from TreeMac. Cottonwood Texas also collects payments from such
         customers on behalf of TreeMac. Cottonwood Texas and TreeMac have established a
         settlement process whereby funds collected from customers by Cottonwood Texas on
         behalf of TreeMac are remitted to TreeMac several business days after receipt. Statement
         21 shows the amount collected and held by Cottonwood Texas as of the Petition Date from
         customers between February 22 and February 25, 2024.

7.       Statement 26d: In the ordinary course of business, the Debtors regularly provide financial
         information to regulators, state and federal agencies, and brokers to assist in obtaining and
         maintaining bonds to meet certain of the Debtors’ regulatory requirements.

8.       Statement 28. Cottonwood Financial Ltd. is the sole member of Cottonwood Financial,
         Cottonwood Texas, Cottonwood Wisconsin and Cottonwood Idaho. Cottonwood
         Financial Management, Inc. is the sole general partner of Cottonwood Financial Ltd.
         Trevor Ahlberg is President and CEO of Cottonwood Financial Management, Inc.

9.       Statement 31. The Debtors’ income and expenses are consolidated and tax returns for all
         Debtor entities are filed under Cottonwood Financial Ltd.



                                                  9
4886-7781-6750
                Case 24-80035-swe11                      Doc 184 Filed 03/29/24 Entered 03/29/24 15:53:25                                                    Desc
Fill in this information to identify the case:
                                                          Main Document    Page 10 of 17
Debtor        COTTONWOOD FINANCIAL LTD.


United States Bankruptcy Court for the:      NORTHERN DISTRICT OF TEXAS


Case number         24-80035
 (if known)
                                                                                                                                                     ¨ Check if this is an
                                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                                04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).




 Part 1:         Income

  1. Gross revenue from business
       þ None



  2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
       þ None


 Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers ¾including expense reimbursements ¾to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted
     on 4/1/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
       ¨ None

               Creditor’s name and address                             Dates              Total amount or value           Reasons for payment or transfer
                                                                                                                          Check all that apply

               BANK OF TEXAS                                            12/14/2023                          $5,511.53     FEES
               ATTN: CHRISTOPHER HOUSTON                                01/16/2024                          $5,911.84     FEES
               600 PENN ST
               FORT WORTH, TX 76102                                     02/14/2024                         $4,599.05      FEES


                                                        TOTAL FOR BANK OF TEXAS                           $16,022.42


                                                                  GRAND TOTAL:                         $16,022.42
  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/1/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do
     not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
     general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates ; and any managing agent of
     the debtor. 11 U.S.C. § 101(31).
       þ None


  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
       þ None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          Page 1 of 8
Debtor     Case 24-80035-swe11
           COTTONWOOD FINANCIAL LTD.                    Doc 184 Filed 03/29/24CaseEntered
                                                                                  number  03/29/24
                                                                                             24-80035 15:53:25    (if known)                                Desc
           (Name)                                        Main Document    Page 11 of 17
 6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
    account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
    debtor owed a debt.
     þ None


 Part 3:     Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
    involved in any capacity-within 1 year before filing this case.
     ¨ None

           Case title                                     Nature of case                            Court or agency’s name and address                Status of case


           LATASHA WILSON V.                              CONSUMER                                  WISCONSIN MILWAUKEE COUNTY                        ¨ Pending
           COTTONWOOD FINANCIAL LTD.                                                                CIRCUIT COURT                                     ¨ On appeal
                                                                                                                                                      þ Concluded
           Case number
           19-SC-49193


           THOMAS ALSTON V.                               CONSUMER                                  US DISTRICT COURT OF COLUMBIA                     ¨ Pending
           COTTONWOOD FINANCIAL LTD.                                                                                                                  ¨ On appeal
                                                                                                                                                      þ Concluded
           Case number
           1:23-CV-00571


           WENDY MASON V.                                 CONSUMER                                  WISCONSIN WAUPACA COUNTY                          ¨ Pending
           COTTONWOOD FINANCIAL LTD.                                                                CIRCUIT COURT                                     ¨ On appeal
                                                                                                                                                      þ Concluded
           Case number
           2022CV000278


 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
    hands of a receiver, custodian, or other court- appointed officer within 1 year before filing this case.
     þ None


 Part 4:     Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
    value of the gifts to that recipient is less than $1,000

     þ None


 Part 5:     Certain Losses


 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
     þ None


 Part 6:     Certain Payments or Transfers


 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the
     filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking
     bankruptcy relief, or filing a bankruptcy case.
     þ None


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
     case to a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     þ None




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                              Page 2 of 8
Debtor      Case 24-80035-swe11
            COTTONWOOD FINANCIAL LTD.                   Doc 184 Filed 03/29/24CaseEntered
                                                                                  number  03/29/24
                                                                                             24-80035 15:53:25    (if known)                                   Desc
            (Name)                                       Main Document    Page 12 of 17
 13. Transfers not already listed on this statement
     List any transfers of money or other property ¾by sale, trade, or any other means ¾made by the debtor or a person acting on behalf of the
     debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
     financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
     þ None


 Part 7:      Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ¨ Does not apply

            Address                                                                                              Dates of occupancy

            1901 GATEWAY DRIVE, SUITE 200                                                                        From 8/1/2018                     To 11/30/2021
            IRVING, TX 75038


 Part 8:      Health Care Bankruptcies


 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for :
     ¾     diagnosing or treating injury, deformity, or disease, or
     ¾     providing any surgical, psychiatric, drug treatment, or obstetric care?
     þ No. Go to Part 9.


 Part 9:      Personal Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
     ¨ No.
     þ Yes. State the nature of the information collected and retained.                    NAME, ADDRESS, INCOME, FINANCIAL HISTORY, SSN, AND
                                                                                           OTHER INFORMATION TYPICALLY COLLECTED FOR CREDIT
                                                                                           CHECK.
                Does the debtor have a privacy policy about that information?
                 ¨ No
                 þ Yes


 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     þ No. Go to Part 10.
     ¨ Yes. Does the debtor serve as plan administrator?




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name , or for the debtor’s benefit, closed,
     sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
     houses, cooperatives, associations, and other financial institutions.
     þ None


 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing
     this case.
     þ None


 20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building
     in which the debtor does business.
     þ None


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own



Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            Page 3 of 8
Debtor      Case 24-80035-swe11
            COTTONWOOD FINANCIAL LTD.                    Doc 184 Filed 03/29/24CaseEntered
                                                                                   number  03/29/24
                                                                                              24-80035 15:53:25    (if known)                                         Desc
            (Name)                                        Main Document    Page 13 of 17
 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.
      þ None


 Part 12:     Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
  n   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
      regardless of the medium affected (air, land, water, or any other medium).
  n   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the
      debtor formerly owned, operated, or utilized.
  n   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant,
      contaminant, or a similarly harmful substance.
 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      þ No
      ¨ Yes. Provide details below.


 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

      þ No
      ¨ Yes. Provide details below.


 24. Has the debtor notified any governmental unit of any release of hazardous material?
      þ No
      ¨ Yes. Provide details below.


 Part 13:     Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
      ¨ None

            Business name and address                      Describe the nature of the business                                  Employer Identification number
                                                                                                                                Do not include Social Security number or ITIN.

            COTTONWOOD FINANCIAL                           CONSUMER FINANCE                                                     XX-XXXXXXX
            ADMINSTRATIVE SERVICES, LTD.                                                                                        Date business existed
            2100 W. WALNUT HILL LN
                                                                                                                                From: 5/15/2002               To: PRESENT
            SUITE 300
            IRVING, TX 75038
            COTTONWOOD FINANCIAL                           CONSUMER FINANCE                                                     XX-XXXXXXX
            ARIZONA, LLC                                                                                                        Date business existed
            2100 W. WALNUT HILL LN
                                                                                                                                From: 8/8/2005                To: 07/20/2023
            SUITE 300
            IRVING, TX 75038
            COTTONWOOD FINANCIAL                           CONSUMER FINANCE                                                     XX-XXXXXXX
            AUSTIN CSO                                                                                                          Date business existed
            2100 W. WALNUT HILL LN
                                                                                                                                From: 9/23/2019               To: PRESENT
            SUITE 300
            IRVING, TX 75038
            COTTONWOOD FINANCIAL                           CONSUMER FINANCE                                                     XX-XXXXXXX
            COLORADO, LLC                                                                                                       Date business existed
            2100 W. WALNUT HILL LN
                                                                                                                                From: 8/8/2005                To: 08/02/2023
            SUITE 300
            IRVING, TX 75038
            COTTONWOOD FINANCIAL                           CONSUMER FINANCE                                                     XX-XXXXXXX
            EXECUTIVE, LLC                                                                                                      Date business existed
            2100 W. WALNUT HILL LN
                                                                                                                                From: 11/20/2012              To: PRESENT
            SUITE 300
            IRVING, TX 75038




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                       Page 4 of 8
Debtor     Case 24-80035-swe11
           COTTONWOOD FINANCIAL LTD.         Doc 184 Filed 03/29/24CaseEntered
                                                                       number  03/29/24
                                                                                  24-80035 15:53:25(if known)                                         Desc
           (Name)                             Main Document    Page 14 of 17
           Business name and address            Describe the nature of the business                             Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

           COTTONWOOD FINANCIAL                 CONSUMER FINANCE                                                XX-XXXXXXX
           IDAHO, LLC                                                                                           Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 2/14/2003               To: PRESENT
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL                 CONSUMER FINANCE                                                XX-XXXXXXX
           ILLINOIS, LLC                                                                                        Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 9/28/2005               To: PRESENT
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL                 CONSUMER FINANCE                                                XX-XXXXXXX
           INVESTMENTS, LLC                                                                                     Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 12/27/2007              To: PRESENT
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL                 CONSUMER FINANCE                                                XX-XXXXXXX
           KANSAS, LLC                                                                                          Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 8/8/2005                To: 08/02/2023
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL                 CONSUMER FINANCE                                                XX-XXXXXXX
           MICHIGAN, LLC                                                                                        Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 4/30/2003               To: PRESENT
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL                 CONSUMER FINANCE                                                XX-XXXXXXX
           MISSOURI, LLC                                                                                        Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 9/22/2005               To: 07/20/2023
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL NEW             CONSUMER FINANCE                                                XX-XXXXXXX
           MEXICO, LLC                                                                                          Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 4/30/2003               To: PRESENT
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL OHIO,           CONSUMER FINANCE                                                XX-XXXXXXX
           LLC                                                                                                  Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 7/20/2005               To: 07/20/2023
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL                 CONSUMER FINANCE                                                XX-XXXXXXX
           TEXAS, LLC                                                                                           Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 5/14/2002               To: PRESENT
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL UTAH,           CONSUMER FINANCE                                                XX-XXXXXXX
           LLC                                                                                                  Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 11/2/2007               To: PRESENT
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL                 CONSUMER FINANCE                                                XX-XXXXXXX
           VIRGINIA, LLC                                                                                        Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 7/20/2005               To: 08/02/2023
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL                 CONSUMER FINANCE                                                XX-XXXXXXX
           WASHINGTON, LLC                                                                                      Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 11/2/2007               To: 05/02/2011
           SUITE 300
           IRVING, TX 75038
           COTTONWOOD FINANCIAL                 CONSUMER FINANCE                                                XX-XXXXXXX
           WISCONSIN, LLC                                                                                       Date business existed
           2100 W. WALNUT HILL LN
                                                                                                                From: 11/2/2007               To: PRESENT
           SUITE 300
           IRVING, TX 75038
           WINDSOR CAPITAL TEXAS, LLC           CONSUMER FINANCE                                                XX-XXXXXXX
           2100 W. WALNUT HILL LN                                                                               Date business existed
           SUITE 300
                                                                                                                From: 11/5/2014               To: 11/22/2022
           IRVING, TX 75038



Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                 Page 5 of 8
Debtor      Case 24-80035-swe11
            COTTONWOOD FINANCIAL LTD.                    Doc 184 Filed 03/29/24CaseEntered
                                                                                   number  03/29/24
                                                                                              24-80035 15:53:25   (if known)                                          Desc
            (Name)                                        Main Document    Page 15 of 17
            Business name and address                      Describe the nature of the business                                 Employer Identification number
                                                                                                                               Do not include Social Security number or ITIN.

            WINDSOR CAPITAL WISCONSIN,                     CONSUMER FINANCE                                                    XX-XXXXXXX
            LLC                                                                                                                Date business existed
            2100 W. WALNUT HILL LN
                                                                                                                               From: 7/19/2011               To: 11/22/2022
            SUITE 300
            IRVING, TX 75038

 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              ¨ None

                Name and address                                                                                   Dates of service

                ADAM ACKERMANN                                                                                     From JANUARY 2023                    To PRESENT
                2100 W. WALNUT HILL LN
                SUITE 300
                IRVING, TX 75038
                JEREMY JAMES                                                                                       From 4/7/2021                        To 6/24/2022
                2100 W. WALNUT HILL LN
                SUITE 300
                IRVING, TX 75038

     26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.
              ¨ None

                Name and address                                                                                   Dates of service

                ARMANINO LLP                                                                                       From JANUARY 2013                    To PRESENT
                15950 N DALLAS PKWY #600
                DALLAS, TX 75248

     26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed .
              ¨ None

                Name and address                                                                                   If any books of account and records are
                                                                                                                   unavailable, explain why

                ADAM ACKERMANN
                2100 W. WALNUT HILL LN
                SUITE 300
                IRVING, TX 75038

     26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.
              ¨ None

                Name and address

                SEE GLOBAL NOTE

 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     þ None


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

     ¨ None

            Name                                     Address                                                   Position and nature of any                    % of interest, if any
                                                                                                               interest

            COTTONWOOD FINANCIAL                     2100 W. WALNUT HILL LN                                    GENERAL PARTNER                               1.0%
            MANAGEMENT INC.                          SUITE 300
                                                     IRVING, TX 75038

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
     control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

     þ None




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                           Page 6 of 8
Debtor     Case 24-80035-swe11
           COTTONWOOD FINANCIAL LTD.                   Doc 184 Filed 03/29/24CaseEntered
                                                                                 number  03/29/24
                                                                                            24-80035 15:53:25  (if known)                                Desc
           (Name)                                       Main Document    Page 16 of 17
 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     þ None


 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ¨ None

           Name of the parent corporation                                                                 Employer identification number of the parent
                                                                                                          corporation.

           COTTONWOOD FINANCIAL LTD                                                                       XX-XXXXXXX


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     þ None




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        Page 7 of 8
Debtor       Case 24-80035-swe11
            COTTONWOOD FINANCIAL LTD.                          Doc 184 Filed 03/29/24CaseEntered
                                                                                         number  03/29/24
                                                                                                    24-80035 15:53:25
                                                                                                                   (if known)               Desc
            (Name)                                              Main Document    Page 17 of 17

 Part 14:      Signature and Declaration


         WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
         by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.


         I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the
         information is true and correct.


         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on 03/29/2024.




         û     /s/ KAREN G. NICOLAOU                                                         KAREN G. NICOLAOU
             Signature of individual signing on behalf of the debtor                         Printed Name

              CHIEF RESTRUCTURING OFFICER

               Position or relationship to debtor




          Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         þ No
         ¨ Yes




Official Form 207                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                   Page 8 of 8
